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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                     Criminal No. 07-278(02)(PAM)

UNITED STATES OF AMERICA,            )
                                     )
                  Plaintiff,         )
                                     )
        v.                           )   ORDER
                                     )
CORNELIUS WINFIELD WALKER,           )
                                     )
                  Defendant.         )



        This matter is before the Court on the government’s motion to

seal.     NOW, THEREFORE, IT IS HEREBY ORDERED that the government’s

motion is granted.



Dated: November      21   , 2008




                                   S/Paul A. Magnuson
                                   THE HONORABLE PAUL A. MAGNUSON
                                   United States District Judge
                                   District of Minnesota
